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13
14                    IN THE UNITED STATES DISTRICT COURT

15              FOR THE CENTRAL DISTRICT OF CALIFORNIA
     THAI NIPPON RUBBER INDUSTRY      Case No. 2:21-cv-09749-JFW
16   PUBLIC LIMITED COMPANY,
                                      PLAINTIFF’S FIRST AMENDED
17                 Plaintiff,         COMPLAINT FOR:
18        v.                          (1) VIOLATION OF
                                      CALIFORNIA’S FRANCHISE
19   PLAYBOY ENTERPRISES              RELATIONS ACT
     INTERNATIONAL, INC., PRODUCTS    (2) VIOLATION OF
20   LICENSING, LLC, and NICHOLAI     CALIFORNIA’S FRANCHISE
     ALLEN,                           INVESTMENT LAW
21
                   Defendants.        (3) BREACH OF CONTRACT
22                                    (4) BREACH OF THE IMPLIED
                                      COVENANT OF GOOD FAITH
23                                    AND FAIR DEALING
24                                    (5) VIOLATION OF
                                      CALIFORNIA’S UNFAIR
25                                    COMPETITION LAW
                                      (6) INTENTIONAL
26                                    INTERFERENCE WITH
                                      CONTRACTUAL RELATIONS
27
                                      (7) INTENTIONAL
28                                    INTERFERENCE WITH

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1                                                     PROSPECTIVE ECONOMIC
                                                      RELATIONS
2                                                     (8) NEGLIGENT INTERFERENCE
                                                      WITH PROSPECTIVE
3                                                     ECONOMIC RELATIONS
4                                                     (9) FRAUDULENT INDUCEMENT
                                                      TO CONTRACT
5                                                     (10) CONVERSION
6                                                     (11) BREACH OF FIDUCIARY
                                                      DUTY
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                                                      DEMAND FOR JURY TRIAL
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1          COMES NOW, Plaintiff THAI NIPPON RUBBER INDUSTRY PUBLIC
2    LIMITED COMPANY (hereinafter referred to as “Plaintiff” or “TNR”), and for
3    causes of action against PLAYBOY ENTERPRISES INTERNATIONAL, INC. and
4    PRODUCTS LICENSING, LLC (“Playboy”), and NICHOLAI ALLEN (“Allen,”
5    and, together with Playboy, “Defendants”), allege as follows:
6                                 NATURE OF THE ACTION
7          1.     TNR brings this action to recover more than $100 million in damages
8    caused by Playboy’s blatant bad-faith conduct. TNR invested tens of millions of
9    dollars to obtain and maintain a license with Playboy for sexual wellness products—
10   specifically, condoms and lubricants. But, rather than acting in good faith as required
11   by the license, Playboy engaged in a deceitful and improper campaign to move
12   Playboy away from its historic magazine business and to take the license back for itself
13   out of envy of TNR’s profits and success. Among other things, Playboy surreptitiously
14   retained TNR’s global sales consultant Allen to work for Playboy, paid off and
15   incentivized Allen for TNR’s proprietary information, misappropriated TNR’s funds
16   to pay for Playboy’s sexual wellness operations, duped TNR into narrowing its license,
17   and terminated TNR through a fraudulent pre-textual audit designed only to steal
18   TNR’s business.
19         2.     Because of Playboy’s wrongful conduct, TNR now brings this action for
20   violation of California’s Franchise Relations Act, violation of California’s Franchise
21   Investment Law, breach of contract, breach of the implied covenant of good faith and
22   fair dealing, violation of California’s Unfair Competition Law, intentional interference
23   with contractual relations, intentional interference with prospective economic
24   relations, negligent interference with prospective economic relations, fraudulent
25   inducement to contract, and conversion.
26                                        THE PARTIES
27         3.     Established in Thailand, TNR has been an OEM manufacturer of high-
28   quality condoms and lubricants since 1993. TNR is a company incorporated under the

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1    laws of Thailand with its principal place of business at 1 Charoenrat Road, Thung Wat
2    Don Subdistrict, Sathon District, Bangkok 10120. TNR is deemed a citizen of
3    Thailand for purposes of 28 U.S.C. § 1332(c).
4          4.     Playboy Enterprises International, Inc. is a corporation formed under the
5    laws of Delaware with its principal place of business at 10960 Wilshire Blvd., Suite
6    2200, Los Angeles, California 90024. Playboy Enterprises International, Inc. is
7    deemed a citizen of Delaware and California for purposes of 28 U.S.C. § 1332(c).
8          5.     Upon information and belief, Products Licensing, LLC is a limited
9    liability company formed under the laws of Delaware with its principal place of
10   business at 10960 Wilshire Blvd., Suite 2200, Los Angeles, California 90024.
11   Products Licensing, LLC, has as its sole member Playboy International, Inc., a
12   corporation formed under the laws of Delaware with its principal place of business at
13   10960 Wilshire Blvd., Suite 2200, Los Angeles, California 90024.                    Products
14   Licensing, LLC is therefore deemed a citizen of Delaware and California for purposes
15   of 28 U.S.C. § 1332(c).
16         6.     Nicholai Allen is a natural person and, upon information and belief, a
17   resident of Los Angeles County, California.
18                               JURISDICTION AND VENUE
19         7.     This Court has jurisdiction pursuant to 28 U.S.C. § 1332(a)(2) based on
20   diversity of citizenship between TNR and Defendants.
21         8.     The amount in controversy, without interests and costs, exceeds $75,000.
22         9.     Venue lies in the Central District of California pursuant to 28 U.S.C.
23   § 1391(b) and (c).
24                                FACTUAL ALLEGATIONS
25         A.     Playboy Enters Into the Product License Agreement with TNR
26         10.    For nearly three decades, TNR has operated a successful business as an
27   OEM manufacturer of high-quality condoms and, more recently, lubricant products.
28   Since November 2016, TNR has been publicly traded on the Stock Exchange of

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1    Thailand (“SET”), trading under the ticker “TNR.”
2          11.    On April 1, 2010, Playboy entered into a Product License Agreement
3    (“PLA”) with United Medical Devices, LLC (“UMD”), TNR’s predecessor-in-
4    interest, with the license due to expire on June 30, 2020. The PLA granted UMD the
5    right to design, manufacture, advertise, promote, sell, and distribute condoms bearing
6    Playboy’s mark (the “Products”). As explained more fully below, TNR became the
7    licensee1 under the PLA through a novation of the Agreement on April 12, 2018. A
8    copy of the PLA is attached hereto as Exhibit 1.
9          12.    The PLA offered Playboy a way to leverage and increase its worldwide
10   brand recognition and market resources to sell products in the sexual wellness space.
11         13.    Shortly after UMD and Playboy entered the PLA in 2010, UMD
12   approached TNR to serve as the manufacturer of the Products through its plant in
13   Thailand, which TNR did through the entirety of UMD’s term as the licensee.
14         14.    Upon information and belief, at some point prior to April 1, 2015,
15   Playboy Enterprises International, Inc. assigned its rights under the Product License
16   Agreement to an affiliate company, Products Licensing LLC.
17         15.    Between 2015 and 2017, the PLA underwent two significant
18   amendments. The Third Amendment to the PLA extended the term of the license by
19   five (5) years to end on March 31, 2025, and it changed the operative choice of law
20   provision and forum selection clause to reflect that California law would govern the
21   PLA and all disputes arising out of the PLA would be heard only in the California state
22   or federal courts in the County of Los Angeles, Central District.
23         16.    The Fifth Amendment further extended the Expiration Date in Schedule
24   9 of the PLA from March 31, 2025, to December 31, 2027—subject to the Renewal
25   1
       As described more fully below, the terms of the PLA created a franchise and thus
26   placed Playboy and TNR in a franchisor-franchisee relationship. The First Amended
27   Complaint in certain instances refers to the parties as licensor and licensee consistent
     with terms used in the PLA; those references are without prejudice to TNR’s claims
28   under California’s Franchise Relations Act and Franchise Investment Law.
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1    Conditions stipulated in Paragraph 1(b)(ii)—and it also expanded the definition of
2    Products in Schedule 6 of the PLA to include certain lubricants in addition to condoms,
3    as follows: “Condoms and non-medical personal lubricants (water, silicone or oil
4    based to be used for personal use) only bearing and sold in connection with the Playboy
5    Properties, as defined in the Agreement.”
6          17.    During the entirety of UMD’s term as licensee, the company’s working
7    relationship with Playboy was overseen by UMD’s senior vice-president, Allen. Allen
8    did a variety of work that included everything from research and development to
9    facilitating relationships with retailers and other purchasers of Products.
10         B.     TNR Replaces UMD as the Licensee Under the Product License
                  Agreement
11
12         18.    In or around early 2018, UMD and TNR discussed the possibility of TNR
13   acquiring UMD’s rights under the PLA. Once the parties decided to move forward,
14   Dr. Reena Patel2 (“Patel”)—then Chief Operating Officer, Global Licensing & Joint
15   Ventures at Playboy— issued a letter on behalf of Playboy to TNR and UMD
16   respectively, confirming the validity of Playboy’s license and its issuance to UMD.
17         19.    With Playboy’s consent, TNR and UMD entered into the Sale and
18   Purchase Agreement (“SPA”) through which UMD assigned its rights under the
19   PLA—as well as several distributor contracts—to TNR in exchange for approximately
20   $15 million in consideration (including $750,000 as initial consideration under the
21   Novation Agreement, as explained below). TNR also invested approximately an
22   additional $13 million for expenses to perform under the license, and paid significantly
23   more in fees per year to Playboy than the predecessor licensee. A copy of the SPA is
24   attached hereto as Exhibit 2.
25   2
       Patel was a central player in Playboy’s relationship with UMD—and, later, with
26   TNR. Patel has held a number of key positions within the Playboy family of
27   companies. Patel is currently Playboy’s Chief Operating Officer, Global Licensing &
     Joint Ventures, and since January 2021, she has also held the role of President,
28   International at PLBY Group, Inc. See https://www.linkedin.com/in/reenavpatel.
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1          20.    The SPA included several terms meant to facilitate the transfer of UMD’s
2    operations to TNR and to allow TNR to establish and maintain relationships with
3    retailers in the United States, which would be crucial to TNR’s success as the new
4    licensee.
5          21.    Notably, Clause 4.4 of the SPA required UMD to pay Allen for one (1)
6    year from the execution of the agreement to assist TNR’s efforts to assume the
7    responsibilities assigned to it and ensure the smooth transition of the PLA and Sub-
8    License agreements to TNR as the assignee.
9          22.    The sales relationship with Walmart, Inc. (“Walmart”) was central to
10   TNR’s plans for its U.S.-based condom and lubricant business, one it sought to
11   develop during TNR’s term as licensee. Thus, Clause 6.2(b) of the SPA required an
12   appropriate representative of UMD to accompany TNR officials to the USA and
13   connect TNR to Walmart’s buyer so that TNR could negotiate an agreement for the
14   sale and distribution of the Products (e.g., condoms and lubricants bearing the Playboy
15   mark) to Walmart stores during TNR’s term as Playboy’s licensee.
16         23.    Shortly after entering the SPA—and as contemplated by that agreement
17   —Playboy, UMD, and TNR entered into the Novation Agreement (“Novation
18   Agreement”), and an Amendment thereto, under which the parties agreed to novate
19   the PLA such that UMD’s rights and obligations under the PLA were transferred to
20   TNR, who would replace UMD as the licensee, in exchange for $750,000 in
21   consideration paid by TNR and sent to UMD as part of the SPA’s purchase price,
22   which UMD would then pay to Playboy. Patel executed the Novation Agreement and
23   the Amendment on Playboy’s behalf and thereby knew of the SPA’s terms. Playboy
24   expressed no objection or concern to TNR regarding UMD’s course of performance
25   as a licensee. A true and correct copy of the Novation Agreement and the Amendment
26   are attached hereto as Exhibits 3 and 4 respectively.
27         24.    Section 11.1 of the Novation Agreement provided that “[e]ach Party
28   shall, in good faith, cooperate with each other and execute such instruments or

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1    documents and take such other actions as may reasonably be requested from time to
2    time in order to carry out, evidence or confirm their rights or obligations or as may be
3    reasonably necessary or helpful to give effect to this Agreement,” and the purpose of
4    the Novation Agreement was to enable TNR to perform as the licensee under the PLA.
5           25.    Under the PLA, Playboy granted TNR, by way of a novation from UMD,
6    the right to design, manufacture, advertise, promote, sell, and distribute condoms
7    bearing Playboy’s mark in an area covering more than 180 countries (the
8    “Territory”), which includes California.
9           26.    Playboy granted TNR an exclusive right to design, manufacture,
10   advertise, promote, sell, distribute, and conduct research and development for the
11   Products in the Territory in the manner specified by the PLA.
12          27.    In exchange, TNR paid to Playboy guaranteed and earned royalties in the
13   seven-figure range and the fee under the novation as described below.
14          28.    Further, the PLA3 imposed terms upon TNR that placed Playboy in a
15   position of significant control over TNR’s use of Playboy’s mark to engage in business
16   related to the Products, including but not limited to:
17                 a.     Section 1.a(iv) dictated controls around authorized Playboy-
18   branded stores in various countries around the world which included conditions on
19   TNR’s ability to sell the Products or similar products to licensees of Playboy-branded
20   stores in certain territories.
21                 b.     Section 1.d of the PLA limited TNR’s exercise of its exclusive
22   rights under the license to the Territory and gave Playboy the right to deem any sales
23   or distributions of the Products or use of Playboy’s mark outside the Territory to be an
24   incurable default;
25                 c.     Sections 2.h-i conditioned TNR’s ability to sell Products on
26
     3
27     The PLA contains a confidentiality provision that, among other things, prohibits
     disclosure of the Agreement. Playboy has consented to the filing of the PLA in
28   redacted form in connection with TNR’s First Amended Complaint.
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1    receiving prior approval from Playboy, and it imposed a series of strict requirements
2    on product quality and the related packaging and materials used in connection with the
3    Products, such as prototypes, photography, cartoons, containers, labels, wrappers,
4    packaging and other inner and outer packaging materials, fixtures, displays, artwork
5    and printing, advertising, sales, marketing and promotional materials. TNR had to
6    seek written approval from Playboy (or its designee) of samples for each of the
7    Products and the materials at each stage of development.              There were severe
8    consequences for nonconformity, including suspension of TNR’s operations and
9    destruction or confiscation of nonconforming Products;
10                   d.   Section 2.o(i)-(ii) required TNR to make advertising, promotion,
11   and marketing expenditures in a given License Year (as measured by Section 1.c)
12   related to the Products that totaled not less than 3% of either its net sales or minimum
13   net sales, whichever was greater, and to submit its advertising/promotional and
14   marketing plan for Playboy’s approval on a yearly basis, in Playboy’s specified format,
15   and TNR was then required to follow the approved marketing plan in connection with
16   sales of the product. Relatedly, TNR was required to seek preapproval of any public
17   relations efforts related to the Products and to cancel any disapproved efforts;
18                   e.   Paragraph S.5 and Section 2.c restricted TNR’s use of advertising,
19   promotion, sales materials to use in the Territory and restricted its distribution of the
20   Products to those distribution channels specified in the PLA;
21                   f.   Paragraph 2.l required TNR to affix Playboy’s official holograms
22   to the Products for certain sales of Products outside the United States and to provide
23   reports with certain metrics about hologram usage;
24                   g.   Sections 2.f-g required to keep its books in the manner prescribed
25   by Playboy, subjected TNR to a twice-yearly audit at Playboy’s discretion, set a two-
26   year retention policy for financial records in the event of a dispute between the parties
27   about the agreement, and required TNR to bear the cost for any audits revealing certain
28   deficiencies;

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 1                h.     Section 2.k required TNR to seek pre-approval for the use of any
 2   subcontractor or supplier to manufacture or distribute the Products, and to engage said
 3   subcontractors or suppliers using Playboy’s specified contracts; and
 4                i.     Paragraph S.10 and Section 1.e of the PLA also required TNR to
 5   meet minimum net sales amounts each year and specified the consequences of failing
 6   to meet those targets, which included Playboy declaring the license to be non-
 7   exclusive as to any region of the territory or terminating the license.
 8         29.    In accordance with California law, by way of novation in 2018, the PLA
 9   between Playboy and TNR and the significant control Playboy exerted over TNR’s
10   use of Playboy’s mark created a franchisee/franchisor relationship. However, upon
11   information and belief, Playboy did not register the franchise with California’s
12   Department of Financial Protection and Innovation (“DFPI”), nor did it disclose
13   certain information required by California’s Franchise Investment Law (“FIL”). See
14   Cal. Corp. Code §§ 31000 et seq.
15         30.    Playboy’s failure to register the franchise and provide the necessary
16   disclosures impeded TNR’s full understanding of the nature of its new relationship
17   with Playboy.
18         31.    Relatedly, and simultaneous with TNR’s assumption of rights and
19   liabilities under the Novation Agreement, Playboy and TNR entered the Seventh
20   Amendment to the PLA. In Paragraph 1 of the Seventh Amendment, Playboy
21   promised and covenanted to provide ongoing “services” to aid TNR’s performance
22   under the PLA, including “product approvals, branding guidelines, brand
23   presentations, marketing materials, and intellectual property updates.”             Thus,
24   Paragraph 1 of the Seventh Amendment served as an affirmative representation by
25   Playboy to offer increased support4 and assistance to TNR.
26
     4
27    As related to product approvals, Paragraph 1 of the Seventh Amendment built upon
     Playboy’s obligation in Section 2.i to ensure that such approvals were not
28   “unreasonably denied, delayed, or conditioned.”
                                                 10
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 1         32.    Notably, the conduct Playboy would later raise as an issue with TNR
 2   following the 2021 audit included conduct that previously presented no problem to
 3   Playboy at the time of the parties’ novation and during the entirety of UMD’s term.
 4         C.     TNR Assembles its U.S. Operations and Hires Nicholai Allen
 5         33.    At the time TNR became the licensee, it had no sales representatives or
 6   distribution network in the United States, and members of TNR’s executive team in
 7   Thailand had little familiarity with the American market. Thus, Allen’s previous
 8   position at UMD and experience with the Playboy condoms and lubricant business
 9   placed him in a singular and essential position to guide TNR’s transition efforts and
10   left TNR heavily dependent upon Allen. TNR engaged Allen as its global sales
11   consultant for the Products through an agreement with Allen’s marketing and sales
12   company in California, Monarch Digital Media LLC (“Monarch”).
13         34.    As contemplated by Clause 4.4 of the SPA, Allen quickly assumed an
14   integral role in TNR’s operations during the transition period that would allow TNR
15   to get up to speed in conducting and managing the Playboy business in the US under
16   the PLA, just as UMD had done previously. Allen also conducted business on TNR’s
17   behalf. In pertinent part, TNR structured its nascent U.S. business in accordance
18   with—and in reliance upon—Allen’s recommendations and guidance, which TNR
19   understood to be entirely consistent with UMD’s practices when UMD was the
20   licensee. At no time did Playboy instruct TNR to deviate from UMD’s course of
21   performance under the PLA, nor did Playboy tell TNR that any of UMD’s performance
22   had breached the PLA or that it had ever conducted an audit of UMD.
23         35.    To facilitate the nuts-and-bolts of conducting its US operations, TNR
24   entered into a pair of agreements with Allen personally and Monarch, through which
25   TNR would remunerate funds expended by Allen and/or his company for management
26   of the Playboy condoms business on TNR’s behalf.
27         36.    As an extension of Allen, Monarch’s operations were at the core of
28   TNR’s relationship with Allen as well as its US business efforts on behalf of Playboy.

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 1   Under the arrangement between Monarch and TNR, and to manage the Playboy
 2   condom and lubricant business, Monarch sought out, engaged, and paid the various
 3   contractors, suppliers, and service providers that TNR needed to accomplish its
 4   business objectives set out by Playboy. For all the services provided, Monarch
 5   (through Allen) would then invoice TNR monthly for those services, which TNR
 6   reimbursed as required under the agreements.
 7         37.    TNR also paid Monarch a monthly service fee to manage the US business
 8   for TNR and to obtain global customers for TNR.
 9         38.    As contemplated by the SPA, the relationship with Walmart was of
10   paramount importance to the Playboy condom and lubricant business. Walmart
11   imposed a series of requirements upon TNR to become an approved supplier.
12         39.    For example, some retailers, distributors and other relationships prefer an
13   approved distributor use a U.S. bank. To facilitate that element of TNR’s U.S.
14   distribution, Allen incorporated Freedom Brands Corp. (“Freedom”) in Las Vegas,
15   Nevada, naming himself as Freedom’s President and Director on March 19, 2019.
16   Monarch paid for some of Freedom’s start-up expenses and costs, which TNR
17   reimbursed. Other than reimbursing those expenses and costs, Freedom remained a
18   separate entity from TNR.
19         40.    Freedom was set up to distribute the Products in the US on TNR’s behalf.
20         41.    TNR later entered into the Walmart General Merchandise Agreement
21   with Walmart, which established the standard terms and conditions under which TNR
22   would serve as a supplier to sell certain Products in Walmart stores domestically
23   (“General Merchandise Agreement”).
24         42.    TNR’s entry into the General Merchandise Agreement was predicated
25   upon having passed the rigorous compliance evaluation process to which Walmart
26   subjected TNR before it would authorize sales of condoms and lubricants.
27         43.    Finally, to facilitate sales with Walmart under the General Merchandise
28   Agreement, Freedom entered into the Managed Services Agreement with Coastal

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 1   Solutions Group LLC (“CSG”), appointing CSG as its agent to promote and sell the
 2   Products in Walmart’s US stores (“Managed Services Agreement”).
 3         D.     Playboy Systematically Undermines TNR’s Rights Under the PLA
 4                a.     Playboy Induces TNR to Enter the Eighth Amendment
 5         44.    Upon information and belief, between June 2019 and July 2019, Patel,
 6   Jared Dougherty (“Dougherty”) (President of Playboy), and Allison Kopcha
 7   (“Kopcha”) (President of Playboy Licensing and Joint Ventures)5 sought to deprive
 8   TNR of any ability to sell non-liquid or non-gel lubricants nor cannabis, cannabidiol
 9   and other related products (“CBD products”) related to the Playboy business—and
10   allow Playboy to develop and sell related products directly—by manipulating Allen to
11   obtain TNR’s CEO, Amorn Dararantanaroj (“Khun Amorn”)’s6 signature on the
12   Eighth Amendment to the PLA under false pretenses and on terms that restricted
13   TNR’s sales of those products. Playboy knew that Allen was TNR’s global sales
14   consultant. Playboy also knew that any false information it conveyed or failed to
15   disclose to Allen about the Eighth Amendment would be communicated to TNR
16   through Allen.
17         45.    As a material inducement to enter into the Eighth Amendment, Playboy
18   (i) concealed or suppressed the material fact that the PLA’s scope included CBD
19   condoms and lubricants; (ii) concealed or suppressed the material fact that Playboy
20   needed the Eighth Amendment to lawfully implement its CBD growth plan; and (iii)
21   made a false and fraudulent representation that the PLA scope excluded CBD condoms
22   and lubricants.
23         46.    At 7:56 PM on July 8, 2019, Patel failed to inform Allen that CBD
24
     5
25     Upon information and belief, during the time of the events surrounding Playboy’s
     efforts to induce TNR’s surrender of rights to sell CBD products and wipes, Allison
26   Kopcha was affiliated with Playboy’s brand management agency, CAA-CBG
27   (Creative Artists Agency and Global Brands Group), later joining Playboy in January
     2020. See https://www.linkedin.com/in/allison-kopcha-5331785.
28   6
       “Khun” is a Thai honorific loosely translating to “Mister” in English.
                                                 13
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 1   condoms and lubricants were in fact included in the scope of the PLA and instead
 2   stated: “To your own point in a previous email you, [sic] you have stated that
 3   THC/CBD and products derived from [c]annabis plants are not within the current
 4   scope of TNR’s rights which is what the amendment relates to.” In doing so, Playboy
 5   intentionally concealed or suppressed the material fact that CBD condoms and
 6   lubricants were included in the scope of the PLA.
 7         47.    At 8:26 PM on July 8, 2019, Patel re-affirmed the false narrative that
 8   CBD condoms and lubricants were not a part of the initial PLA grant when she e-
 9   mailed Allen: “Reality is that THC/CBD are not part of their [TNR’s] grant (per your
10   own note) and would be subject to our approval and grant.” In doing so, Playboy (i)
11   intentionally concealed or suppressed the fact that Playboy needed the Eighth
12   Amendment to lawfully implement its 2021 growth plans to develop its competing
13   CBD sexual wellness product line—CBD by Playboy— without violating the terms of
14   the PLA;7 and (ii) made a false representation that CBD condoms and lubricants were
15   excluded from the scope of the PLA.
16         48.    On July 22, 2019, Patel sent the final version of the Eighth Amendment,
17   which significantly narrowed the definition of Products to include “[c]ondoms and
18   non-medical personal lubricants (water, silicone or oil based) in gel or liquid form
19   only to be used for personal use only” (emphasis added) and to expressly exclude CBD
20   products, without any consideration on Playboy’s part.
21         49.    Per Schedule 6, as modified by the Fifth Amendment to the PLA, there is
22   no express or implicit exclusion of CBD condoms or lubricants from the scope of the
23   PLA. Put simply, the final and agreed-upon language of the PLA, prior to the Eighth
24
     7
25     Having cleared TNR from the field, Playboy now sells two CBD lubricant products
     directly to consumers through www.pleasureforall.com: (i) CBD Arousal Spray by
26   Playboy (a “sensual and warming stimulating oil” meant for “the vulva and clitoris”
27   with 250mg of Broad-Spectrum CBD); and (ii) CBD Intimacy Gel by Playboy (an
     “incredible blend of water-based ingredients” and 250mg Broad-Spectrum CBD
28   “designed to heighten the pleasure of your intimate experience.”).
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 1   Amendment, clearly grants TNR a license to all condoms and non-medical personal
 2   lubricants bearing and sold in connection with Playboy’s marks and images, including
 3   CBD condoms and lubricants.
 4         50.    Playboy made representations to convince TNR, through Allen, that the
 5   Eighth Amendment needed to be signed urgently, and its terms simply affirmed the
 6   alleged ‘fact’ that CBD products were not in the scope of the initial PLA and limited
 7   the scope of TNR’s lubricant rights in an insignificant manner that would not harm
 8   TNR’s operations given TNR’s focus on condoms—even though Playboy knew or
 9   believed none of those representations to be true.
10         51.    Upon information and belief, Allen—relying upon Playboy’s fraudulent
11   conduct regarding the initial scope of the PLA, the Eighth Amendment’s effects on
12   TNR, and Playboy’s legal need for the Eighth Amendment—met with Khun Amorn
13   while in Thailand, on August 3, 2019 to obtain Khun Amorn’s assent to the Eighth
14   Amendment on behalf of TNR. Khun Amorn was unavailable when Allen called, but
15   when Allen pressed that the document needed to be signed urgently, despite it being a
16   Saturday, Khun Amorn agreed to visit Allen’s hotel later that day.
17         52.    Khun Amorn met Allen at the hotel as planned. Moreover, given the
18   seemingly urgent nature of the situation, Khun Amorn was not able to seek or consult
19   legal counsel prior to signing the document.
20         53.    Allen repeated the substance of the representations Playboy made to him
21   about the urgent need to sign the document as well as the justifications for doing so,
22   as represented by Playboy.
23         54.    The practical result of the Eighth Amendment was to keep TNR out of
24   the market for products involving CBD and other cannabinoids, as well as to prevent
25   TNR from making lubricants in a non-liquid or non-gel form—for example, in dry or
26   aerosol form— and signing the Eighth Amendment worked to TNR’s detriment
27   because TNR intended to develop CBD lubricants. Due to Khun Amorn’s lack of
28   direct familiarity with the various operative agreements and their effects, Khun Amorn

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 1   was at a disadvantage regarding the document Playboy needed him to sign. Thus,
 2   Khun Amorn relied upon Allen’s characterization of the document and its contents,
 3   which had been influenced by Playboy’s intentional concealment or suppression of
 4   material facts and strategically crafted sense of urgency. Given the belief and trust
 5   Khun Amorn was forced to place in Allen generally due to TNR’s new status as
 6   licensee, and on the strength of Playboy’s representations to Allen, Khun Amorn
 7   signed the contract without the benefit of an attorney and with no consideration from
 8   Playboy.
 9                b.     Playboy Poaches Allen to Undermine TNR, and Allen Violates
                         His Duties to TNR
10
11         55.    From the beginning, TNR understood the relationship with Walmart to
12   be of paramount importance to its success with the Playboy business. Through its hard
13   work and diligence that started with TNR’s presentation to Walmart in January or
14   February 2019, TNR later experienced a breakthrough in the relationship with
15   Walmart for sales of Playboy products whereby the number of SKUs greatly increased
16   and sales of the Products increased from 1,110 stores to all Walmart stores nationwide,
17   which was not previously accomplished under UMD. In addition, TNR dramatically
18   increased the profits on sales of Playboy products to Walmart stores.
19         56.    Unbeknownst to TNR, while gaining the initial traction with Walmart,
20   Allen acted covertly to develop a wipes product sometime in 2019 with the goal of
21   using TNR’s relationships and credentials with retailers in addition to its shipping,
22   storage, logistics, insurance, and other resources to sell the product under the Playboy
23   brand for his own benefit rather than TNR’s. But when Allen pitched the wipes
24   product to Playboy (without TNR’s knowledge or permission), Playboy was initially
25   cool to the idea.
26         57.    Allen, however, soon learned that he had leverage. Allen became aware
27   that Playboy wanted to reacquire TNR’s license so that Playboy could shift from a
28   licensor to owner/operator of the condom and lubricant business. Around the summer

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 1   of 2019, Playboy tried to take away TNR’s exclusive rights to sell Products in the USA
 2   and Canada and revealed its intentions to Allen, but Allen did not agree to release such
 3   rights for such territories, likely because he wanted to continue operating as the
 4   distributor for the US territory.
 5         58.    Thus, Playboy and Allen realized that it was to their benefit to make a
 6   trade, at TNR’s expense. Allen and Playboy entered a deal to help both parties get
 7   what they wanted: Allen would have the ability to sell his wipes product under the
 8   Playboy brand, and Playboy would have a means to charge into the sexual wellness
 9   space using TNR’s retail and distributor relationships.
10         59.    In accordance with the new deal between Playboy and Allen—and not
11   long after TNR achieved the new milestones with Walmart—Playboy continued to
12   undermine TNR and improperly compete with TNR’s Playboy-branded product lines.
13   To implement its improper plans, and to secure the assistance of Allen in exploiting
14   TNR’s relationships and credentials with retailers as well as its shipping, storage,
15   logistics, and insurance resources, Playboy quietly offered Allen an official consulting
16   role on or about November 2019, which TNR later learned that he accepted in
17   exchange for a significant sum of $100,000, plus sales commissions.
18         60.    Notably, Playboy offered this position to Allen without informing TNR,
19   and while Allen continued to serve as global sales consultant for TNR through
20   Monarch and remained a director of Freedom, TNR’s US distributor.
21         61.    The significant geographic distance between Playboy and TNR—as a
22   foreign entity whose US presence was in its infancy—put Playboy in a superior
23   position to conduct its deceit without TNR’s knowledge.
24         62.    Allen accepted Playboy’s offer and took a role with the company working
25   in its Los Angeles headquarters as Playboy’s “Special Project Consultant – New
26   FMCG Wellness Products,” and Playboy planted the ever-growing seed of Allen’s
27   conflict of interest. Allen and Playboy reached an understanding whereby Playboy
28   threw its support behind Allen’s Playboy wipes product and paid Allen a significant

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 1   sum for his work. Allen therefore worked with both Playboy and TNR at the same
 2   time without TNR’s knowledge
 3         63.     Playboy failed to inform TNR of Allen’s new position with Playboy and
 4   the direct conflict that the role created with his position at TNR. Playboy identified a
 5   willing mole in Allen to help satiate its corporate greed by directing Allen’s work as a
 6   double agent to help Playboy infiltrate, sabotage and ultimately usurp TNR’s business.
 7         64.     Playboy lacked the requisite credentials to sell its products directly to
 8   certain retailers, so it obtained a backdoor entryway through Allen to gain unfettered
 9   access to shelf space it did not earn.
10         65.     Upon information and belief, chief among the FMCG products Allen
11   promoted were Playboy’s Climax Delaying Wipes product (“Playboy wipes”), which
12   Allen worked in tandem with Playboy to further develop and promote and to get the
13   Playboy wipes onto Walmart’s shelves using TNR’s account at Walmart.
14         66.     Upon information and belief, around January or February of 2020, Allen
15   presented the Playboy wipes to Walmart with the TNR Products and Walmart accepted
16   the wipes.
17         67.     In or around October 2020, TNR discovered the Playboy wipes being sold
18   on the Walmart website. TNR started wondering why the Playboy wipes were being
19   sold under TNR’s account for Playboy condoms and started making inquiries about
20   such to Allen.
21         68.     TNR did not discover Playboy had poached Allen to work for Playboy
22   for the first year or so of Allen’s double agent position. On or about November 2020,
23   TNR noticed a position on Allen’s Linkedin profile with the description: “Launching
24   of new FMCG products under world famous Playboy brand.” When confronted, Allen
25   convinced TNR that this arrangement worked to TNR’s benefit so as to better develop
26   the relationship.
27         69.     TNR also later learned that Playboy improperly required TNR to pay
28   approximately $4,000 per month in rent and parking fees for Allen’s use of the space

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 1   at Playboy’s headquarters. Playboy charged TNR for Allen’s rental expenses at
 2   Playboy’s headquarters, including costs for building office walls and remodeling at
 3   Playboy’s offices, although Allen was concurrently working for Playboy, and Playboy
 4   has never returned the funds TNR expended under false pretenses. Playboy later
 5   admitted to TNR that Allen and Playboy jointly agreed to pursue reimbursement of
 6   the rental and parking space from TNR, though there appears to be no written rental
 7   agreement between Allen and Playboy.
 8                c.     Playboy Interferes in TNR’s Relationship With Retailers
 9         70.    Upon information and belief, and at Playboy’s direction, Allen secured a
10   meeting with Walmart’s buyer during which he presented samples of the Playboy
11   wipes and misdirected Walmart on behalf of Playboy that the wipes were products
12   under TNR’s account. Playboy lacked an independent supplier account with Walmart
13   and was therefore unable to secure the necessary approvals to sell its products to the
14   retailer without cover from TNR. Without the consent or knowledge of TNR, Playboy
15   sold and derived profits from the wipes using TNR’s supplier account and TNR’s shelf
16   space despite knowing those wipes were not manufactured by TNR and were sold
17   under TNR’s account.
18         71.    Selling the wipes using TNR’s shelf space deprived TNR of its ability to
19   sell agreed upon quantities of TNR’s condoms and lubricants at Walmart stores and
20   hurt TNR’s bottom line. Upon information and belief, sales of Playboy wipes
21   specifically displaced TNR’s top-selling “Studded Pleasure” condom from Walmart
22   shelves, thereby preventing sales of a crucial item in TNR’s sales portfolio. Playboy
23   in no way shared any profits from sales of the wipes with TNR.
24         72.    Playboy’s intentional act of using TNR’s shelf space for sales of its wipes
25   to the exclusion of TNR’s Products jeopardized TNR’s performance under the General
26   Merchandise Agreement with Walmart and diminished TNR’s ability to enjoy the full
27   benefits of sales through the retailer’s stores as contemplated in the General
28   Merchandise Agreement.

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 1         73.    In addition, Playboy deployed the wipes to Walmart’s shelves in
 2   packaging that is almost identical to TNR’s best-selling “Studded Pleasure” condoms.
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15   The reduction in TNR’s sales at Walmart stores resulting from displacement of TNR’s
16   Products hampered TNR’s ability to meet its obligations under the PLA to satisfy
17   minimum sales requirements, undermining TNR’s ability to perform as licensee.
18         74.    Upon information and belief, at some point in the fall of 2020, CSG
19   (TNR’s sales broker to Walmart) learned of an issue with Freedom and Allen that
20   made it uncomfortable to further do business for the Playboy condoms. TNR did not
21   learn about the end of the relationship with CSG until June 2021 due to Allen’s efforts
22   on Playboy’s behalf to keep TNR from full participation in the relationship.
23         75.    In addition to its efforts at Walmart, upon information and belief, Playboy
24   acted through Allen without TNR’s knowledge or consent to insure Playboy’s
25   products under TNR’s liability insurance policy. TNR later discovered that, in
26   addition to unauthorized use of its insurance, Playboy acted through Allen to bill
27   shipping, storage, advertising, marketing, CSG management fees, EDI setup fees, EDI
28   usage fees, QuickBooks monthly fee, and other significant costs and fees to TNR’s
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 1   accounts to support sales of Playboy wipes and CBD products.
 2         76.    Upon information and belief, Playboy induced Allen to use a sales pitch
 3   to CVS for TNR’s Products as a cover to promote Playboy wipes by mixing the wipes
 4   in with TNR’s Playboy condoms and lubricants using a presentation vendor called
 5   BLKLYST, without TNR’s knowledge or consent. TNR reimbursed Monarch for the
 6   presentation in full, without knowing that a significant portion of the presentation was
 7   for Playboy’s non-TNR products.
 8         77.    Playboy wipes are sold in CVS stores but TNR’s condoms and lubricants
 9   are not. Upon information and belief, Playboy wipes at CVS are purportedly relying
10   on TNR’s product liability insurance thereby benefitting Playboy’s products and
11   profits under the cover of, and without the consent of, TNR.
12         78.    Upon information and belief, Playboy induced Allen to use a sales pitch
13   to Walgreens for TNR’s Products as a cover to promote Playboy wipes and CBD
14   products by mixing those products in with TNR’s Playboy condoms and lubricants
15   using a presentation vendor called BLKLYST, without TNR’s knowledge or consent.
16   TNR reimbursed Monarch for the presentation in full, without knowing that a
17   significant portion of the presentation was for Playboy’s non-TNR products.
18         79.    Playboy used sales of its wipes products to enrich itself at TNR’s expense.
19   For example, on November 4, 2020, and without TNR’s permission or knowledge,
20   Playboy prompted Allen to send a payment of $229,016.16 from Freedom’s bank
21   account, the first of several monthly payments, as payment for Playboy wipes’ sales.
22         80.    At or about the time it was inducing Allen to undermine TNR with major
23   retailers, Playboy revealed during an investor presentation that it would pursue a new
24   strategy of transitioning from licensing to direct ownership and operation of its sexual
25   wellness portfolio—with an eye toward a specific expansion in US, EU, and Asia
26   markets. Among other things, Playboy revealed during the presentation that it had
27   secured agreements to sell its sexual wellness products at Walmart and CVS—the very
28   two retailers at the heart of Playboy’s unauthorized efforts to use TNR resources for

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 1   its own benefit.
 2         81.    Playboy did not reveal the underhanded means described above that
 3   Playboy used to get into Walmart and CVS through TNR’s relationships without
 4   TNR’s knowledge or permission. Moreover, upon information and belief, Playboy has
 5   no such direct agreement to sell its sexual wellness products with Walmart.
 6                d.     Playboy Blocks TNR’s Attempts to Seek New Opportunities
 7         82.    At around the same time, Playboy also began to unabashedly exert brute
 8   force in its efforts to block potential relationships that would expand TNR’s sales of
 9   the Products.
10         83.    Upon information and belief, Playboy interfered with TNR’s prospective
11   relationship with a vendor called Core-Mark—a major USA distributor that services
12   convenience stores and gas stations—by instructing Allen not to pursue the
13   relationship for TNR.     Instead, Playboy asked Allen to insert Playboy into the
14   relationship to harm TNR’s economic relationships and undermine TNR’s operations
15   and business. Upon Playboy’s instruction, Allen put TNR’s negotiations with Core-
16   Mark on hold and the relationship never came to fruition.
17         84.    Playboy interfered with a deal worth more than $6 million—secured with
18   the deposit of $400,000—by holding back its approval for 4-6 months for TNR to sell
19   condoms in Russia and thereby delaying TNR’s ability to register with the appropriate
20   agencies to sell the Products, a deal Allen attempted to secure with a distributor
21   through a sub-publisher of Playboy magazine in the country.
22         85.    During Playboy’s strict regime of Playboy’s prior approval and quality
23   control of sales, Playboy also misused its authority under the PLA to withhold
24   approval of a 200-page marketing plan that TNR submitted concerning, among other
25   things, TNR’s plan to utilize digital markets, social media platforms, and other
26   internet-based endeavors in sales of Playboy products. Playboy’s abuse of power
27   blocked TNR’s ability to utilize Playboy’s social media for advertising related to
28   TNR’s Products.

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 1         86.    In fact, Playboy also unreasonably withheld and/or failed to act on no
 2   fewer than 67 product approval requests and no fewer than 18 requests for approval of
 3   marketing materials—all of which were submitted through Playboy’s requisite portal
 4   and met the requirements of Paragraph 2.i(i) of the PLA to the extent reasonably
 5   possible to do so. This violated Playboy’s obligations under the PLA and the Seventh
 6   Amendment to promptly provide such approvals or an explanation for denial.
 7         87.    Furthermore, Playboy began to pressure TNR through its license
 8   management company CAA-Global Brands Group (“CAA”), demanding sales
 9   reports, insisting on product and ad approvals, instituting production controls,
10   requiring marketing plan submissions, and enforcing requirements for the placement
11   of holograms on Products. The changes and additional controls over the license
12   contravened the course of performance between Playboy and UMD, TNR’s
13   predecessor-in-interest, as TNR understood UMD to engage in the same conduct for
14   many years prior to novation of the license to TNR.
15         88.    Meanwhile, Playboy ratcheted up the pressure on Allen to deliver TNR’s
16   business to Playboy as they had agreed. Upon information and belief, as part of his
17   efforts on Playboy’s behalf, Allen supplied Playboy with TNR’s confidential business
18   information and financial data.
19         89.    Apparently unsatisfied with Allen’s efforts in providing such information
20   to that point, Patel sent an email to Allen on or around November 25, 2020 with an
21   offer of a full-time position in the company with significant compensation, and
22   provided a list of “expectations” Playboy had for Allen, including, among other things,
23   that he (i) deliver condom distribution rights for major markets to Playboy; (ii)
24   transition use and control of Playboy’s marks back to the company; (iii) divulge the
25   sensitive details of TNR’s logistics and distribution setup (e.g., Freedom’s role, the
26   identity of its importer and freight forwarder, and the source of its USA regulatory
27   guidance); (iv) work with Playboy’s communications/brand team to clean up all
28   social/digital assets related to condoms/intimacy, e.g. Instagram, Facebook, YouTube

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 1   to establish greater alignment and consistent with Playboy Hero Brand and Sexual
 2   Wellness Category; and (v) share knowledge about the sexual wellness category with
 3   respect to competition, trends, industry/sector, regulatory, and other best practices.
 4         90.    Playboy’s attempt to solicit Allen for the purposes stated in the email
 5   contravened its representations under the Novation Agreement and Seventh
 6   Amendment to the PLA that it would be a supportive licensor to TNR.
 7         91.    Thus, contrary to its contractual obligations licensing condom rights to
 8   TNR for significant consideration, and before conducting a 2021 audit to terminate
 9   TNR’s license, Playboy was already taking steps in 2020 to start transitioning the
10   license to Playboy by offering Allen compensation with a list of expectations that
11   would achieve Playboy’s goal of getting the license back from TNR.
12         E.     Playboy Engineers an Audit as Pretext for Terminating TNR’s
                  License
13
14         92.    Eventually, things fell apart between Playboy and Allen in or about
15   December 2020. Upon information and belief, Playboy began to press Allen for
16   extremely detailed accounts regarding TNR’s operations, logistics, and other intimate
17   details of TNR’s business. Ultimately, Playboy and Allen did not renew their working
18   relationship and Allen left the Playboy space.
19         93.    Without the promise of further financial gain from his relationship with
20   Playboy, Allen attempted to pivot back to TNR once again. In January 2021, Allen
21   informed TNR of Playboy’s efforts to seize TNR’s Playboy condom and lubricant
22   business and showed TNR the e-mail Playboy sent to him on November 25, 2020
23   offering a full time position with the company and significant compensation.
24         94.    On February 11, 2021, Playboy resumed its status as a publicly traded
25   company through a deal with a Special-Purpose Acquisition Company (“SPAC”)
26   trading on the NASDAQ exchange under the ticker “PLBY.”
27         95.    The next day, Playboy’s CEO, Ben Kohn, participated in a video
28   interview during which he outlined Playboy’s strategy for the future. Though the

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 1   company had gained prominence as the publisher of a men’s lifestyle and
 2   entertainment magazine, Playboy would now move away from the publication
 3   business and focus on other markets, with an emphasis on the market for sexual
 4   wellness products. Kohn confirmed Playboy’s desire to seize direct control of the
 5   sexual wellness business it was licensing to companies like TNR, stating flatly that
 6   “[s]exual wellness is a category [Playboy wants] to own . . . on a global basis” and that
 7   Playboy had begun making that desire a reality “by terminating contracts and taking
 8   back rights to certain product categories.”8
 9         96.     In a later interview, Kohn explained Playboy’s incentive to move from
10   licensor to owner/operator of its sexual wellness portfolio in order to maximize the
11   sector’s value to the company: “[L]icensing is a less efficient model for that, and we
12   can own a lot more of the spend. That $3 billion of consumer spend, the challenge
13   with licensing is you’re getting pennies on the dollar for that, $0.02, $0.03 on the
14   dollar for that. If we pivot and we own that, not only can I drive the lifetime value of
15   the customer up and the average order size because I can tell [sic] you more products,
16   but I can drive my revenue up. When you look at that, there could be a 20x increasing
17   revenue just if you model it out and actually an increase in EBITDA by 5 or 6 times
18   as well.”9
19         97.     Shortly after Playboy went public, TNR received an email placing it on
20   notice of an impending audit under the PLA. Up to that point, Playboy had never
21   conducted an audit of TNR or its predecessor licensee UMD.
22         98.     The audit represented Playboy’s latest strategy to misuse its broad powers
23   under the PLA to achieve its objective of stealing TNR’s business. Indeed, Allen later
24
     8
25     Channelchek, Playboy CEO Ben Kohn – Presentation from NobleCon 17, YouTube
     (Feb. 12, 2021), https://youtu.be/9ULyUT2sFac
26   9
       Nick Sciple, PLBY Group CEO Ben Kohn on the Future of Playboy and Other Parts
27   of the Business, The Motley Fool (Aug 23, 2021, 2:11 PM),
     https://www.fool.com/investing/2021/08/23/plby-group-ceo-ben-kohn-on-the-future-
28   of-playboy/.
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 1   disclosed to TNR that Playboy executive Kopcha stated that an audit could be used by
 2   Playboy to terminate the license to achieve Playboy’s desired outcome.
 3            99.    At   Playboy’s     request,    Credence      Global    Consulting      Limited
 4   (“Credence”) conducted the audit between April 26, 2021 to May 4, 2021 at TNR’s
 5   offices in Bangkok, Thailand and, as agreed, TNR cooperated fully. On June 7, 2021,
 6   Credence issued a report detailing the findings of its audit on TNR’s books and records
 7   concerning TNR’s compliance with the PLA.
 8            100. The audit findings alleged that TNR had committed a number of breaches
 9   under the PLA, ranging from purported late payments of royalties to TNR’s alleged
10   failure to obtain certain product approvals. In total, Playboy’s audit assessed a claim
11   against TNR in the amount of $8,622,713 for the alleged violations detailed in the
12   audit.
13            101. The audit findings were, at best, disingenuous, and none of the purported
14   breaches of the PLA presented in the audit were material or justified immediate
15   termination of the agreement. Moreover, the audit contained no notice of Playboy’s
16   intent to terminate the PLA, nor any date upon which such a termination would be
17   effective.
18            102. Accordingly, TNR responded a week later with a letter providing a
19   detailed rejection of all findings and a specific basis for each rejection.
20            103. For example, contrary to the audit’s finding that TNR failed to obtain
21   product approvals, the reality was that TNR did obtain approvals in the same manner
22   that UMD had always done.
23            104. Similarly false were the audit’s findings that TNR had failed to pay
24   royalties. In fact, TNR had paid all royalties as required under the PLA.
25            105. Playboy later reduced the amount it sought in connection with TNR’s
26   alleged breaches from $8,622,713 to $1,610,078, in exchange for the return of rights
27   to territories closely aligned to those it communicated to Allen in the list of
28   “expectations” for Playboy’s offer of full-time employment to Allen sent by email on

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 1   November 25, 2020, all while signaling that its proposed offer was somehow generous
 2   to TNR.
 3         106. TNR attempted to discuss the audit ‘findings’ with Playboy, offered to
 4   pay for a new audit, and expressed a desire on multiple occasions to resolve the issues
 5   between the parties, but Playboy failed to meaningfully engage in a productive
 6   dialogue.   Instead, Playboy simply bullied TNR to forcibly terminate the PLA
 7   consistent with Playboy’s real intent of taking the license back to distribute the
 8   Products itself.
 9         F.     Playboy Unlawfully Terminates the Product License Agreement
10         107. On November 5, 2021, Playboy sent a letter to a TNR executive
11   terminating the PLA effective immediately.
12         108. In the letter, Playboy invoked its purported rights to terminate the
13   agreement due to alleged incurable defaults under Section 7.a(iii) of the PLA and
14   citing as justification for its act the findings of the audit conducted in July 2021.
15   Playboy also demanded that TNR (i) cease and desist from use of Playboy’s
16   intellectual property and stop sales of the Products; (ii) refrain from entering a sell-off
17   period and provide Playboy with an inventory list within ten (10) days of the
18   termination date; (iii) remit the termination fee of $459,461.25 to Playboy within ten
19   (10) days of the termination date; and (iv) pay Playboy the reduced figure of
20   $1,610,078 previously sought from TNR to resolve the matter.
21         109. As TNR previously noted in its audit response, the alleged defaults in
22   Playboy’s purported termination notice were (i) acts and conduct by TNR’s
23   predecessor licensee that was agreeable and sanctioned by Playboy; (ii) acts and
24   conduct that TNR continued from its predecessor’s course of performance under the
25   PLA licensee that was agreeable and sanctioned by Playboy; (iii) minor acts that TNR
26   rectified immediately upon notice, or (iv) acts that lacked any factual basis. In all
27   events, none of the purported breaches of the PLA were material or justified
28   termination of the agreement.

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 1          110. In accordance, TNR promptly notified distributors and known retailers of
 2   the sudden and abrupt nature of Playboy’s immediate and wrongful termination,
 3   thereby causing significant commotion, damage, and inconvenience to all of TNR’s
 4   relationships.
 5          111. Playboy’s refusal to allow TNR to engage in a sell-off period and
 6   eliminate remaining unsold inventory was retaliatory and has saddled TNR with
 7   approximately $13 million in inventory that will have to be unnecessarily destroyed
 8   or used as a means by Playboy to ascertain and control the inventory so it can replace
 9   TNR as the new supplier to TNR’s damaged relationships.
10          112. Playboy’s wrongful and an unjustified termination of the PLA has caused
11   a ripple effect through TNR’s supply chain and sales channels, resulting in the inability
12   to sell millions of dollars in inventory, harm and damage to its various commercial
13   relationships, and tarnishment of its public reputation around the world resulting in
14   devaluation of TNR’s stock by TNR having to report the license termination to the
15   SET.
16          G.    TNR is a De Facto Franchisee Entitled to the Protections of
                  California Law
17
18          113. TNR qualifies as a franchisee under Section 31005 of the FIL. Cal. Corp.
19   Code § 31005.
20          114. The FIL defines a franchise as:
21                [A] contract or agreement, either expressed or implied,
                  whether oral or written, between two or more persons by
22                which: (1) A franchisee is granted the right to engage in the
23                business of offering, selling or distributing goods or services
                  under a marketing plan or system prescribed in substantial
24                part by a franchisor; and (2) The operation of the
                  franchisee’s business pursuant to such plan or system is
25                substantially associated with the franchisor's trademark,
26                service mark, trade name, logotype, advertising or other
                  commercial symbol designating the franchisor or its
27                affiliate; and (3) The franchisee is required to pay, directly
                  or indirectly, a franchise fee.
28
                                                 28
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 1   Cal. Corp. Code § 31005.
 2           115. The PLA granted TNR the exclusive rights to engage in the business of
 3   designing, manufacturing, advertising, promoting, selling, distributing, and
 4   conducting research and development for condoms bearing the Playboy mark under a
 5   marketing plan or system prescribed in substantial part by Playboy that gave Playboy
 6   significant control over the business, including, but not limited to, in the following
 7   ways:
 8                 a.     TNR could not use any of its exclusive rights outside the Territory;
 9                 b.     TNR could not sell the Products without Playboy’s prior approval
10   at each stage of development, even when selling to licensees of Playboy-branded
11   stores, and satisfying strict quality controls;
12                 c.     TNR had to seek Playboy’s prior approval on a yearly basis for its
13   advertising/promotional and marketing plans and seek prior approval for any and all
14   public relations, packaging, marketing, and advertising efforts throughout the year;
15                 d.     TNR could only advertise and promote the Products within the
16   Territory and distribute the Products in specified channels;
17                 e.     TNR could not sell certain Products outside of the United States
18   without affixing Playboy’s official hologram to its packaging and provide reports with
19   certain metrics about hologram usage;
20                 f.     TNR was subject to a twice-yearly audit—for which TNR had to
21   pay if the audit revealed certain deficiencies—and had to manage its books according
22   to Playboy’s requirements;
23                 g.     TNR could not engage a subcontractor or supplier to manufacture
24   or distribute the Products without obtaining Playboy’s prior approval and using
25   Playboy’s specified contracts; and
26                 h.     TNR had to meet minimum sales requirements by region and
27   minimum marketing advertising expenditures in a given License Year or suffer
28   consequences ranging from the loss of exclusivity over that region up to and including

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 1   termination of the license.
 2         116. Playboy’s use of its powers to control TNR interfered with TNR’s ability
 3   to operate the business. By way of example, Playboy required TNR to submit requests
 4   for advertising/promotional and marketing approvals through a portal called Brand
 5   Comply, and Playboy’s failure to timely respond to TNR’s requests in early 2021 kept
 6   TNR from going forward with various holiday promotions such as Valentine’s Day
 7   and St. Patrick’s Day-themed promotions that were opportunities for increased sales.
 8         117. Additionally, after the audit, Playboy used its powers to change the scope
 9   of TNR’s hologram usage—which the course of performance previously restricted to
10   certain countries in Asia—and required that holograms be affixed to all packages.
11   Playboy decided to use its control powers under the license to engineer its termination
12   of the license. That change dramatically increased the number of approvals TNR had
13   to submit, and Playboy unreasonably withheld or delayed its approval, effectively
14   preventing TNR from selling the Products.
15         118. The PLA granted TNR the right to engage in the business of selling
16   branded condoms and lubricants bearing Playboy’s mark, which was communicated
17   to TNR’s customers via the packaging of the Products.
18         119. TNR was required to pay Playboy a franchise fee for the ability to engage
19   in the business of selling Playboy’s branded condoms:
20                   a.     Through the SPA and the Novation Agreement, TNR became
21   UMD’s successor in interest, and the Novation Agreement required TNR to tender
22   consideration that went to Playboy in the amount of $750,000 as an upfront fee, which
23   it paid; and
24                   b.     The PLA entitled Playboy to both guaranteed and earned royalties
25   for the rights granted by the PLA, and it required TNR to provide an annual payment
26   of both guaranteed and earned royalties—totaling more than $2.3 million—to Playboy
27   over three years, which it paid.
28         120. TNR engaged in sales, leases, and business transactions directed toward

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 1   customers from within the state of California as part of the business contemplated by
 2   the PLA and the Novation Agreement. By way of example, Allen served as TNR’s
 3   global sales consultant for the Products through an agreement with Monarch
 4   (incorporated in the State of California), Allen’s marketing and sales company in
 5   California, where Allen operated and conducted TNR’s U.S. operations, and TNR
 6   officials routinely engaged in transactions from California directed at customers. TNR
 7   also paid rent to Playboy under the impression that doing so would allow Allen to
 8   conduct operations on behalf of TNR from Playboy’s offices in California, but
 9   unbeknownst to TNR, Playboy used the arrangement to exercise further control over
10   Allen and, through him, over TNR’s business as well.
11          121. Accordingly, TNR meets each of the requirements to be a franchisee
12   under the FIL and is entitled to its protections. It follows that Playboy is thus a
13   franchisor and must adhere to the legal obligations of a franchisor under California
14   law.
15          122. Consistent with the FIL’s public policy, a franchisor—here, Playboy—
16   must either register the franchise with California’s DFPI and disclose certain
17   information required by the Franchise Investment Law through a Franchise Disclosure
18   Document, or otherwise qualify as a franchise exempt from such disclosures.
19          123. A franchisor—here, Playboy—is also required to update its DFPI
20   disclosures to the extent there are any material changes to the information contained
21   in the initial registration application.
22          124. Upon information and belief, Playboy has never registered with
23   California’s DFPI.      As such, Playboy has also failed to provide the requisite
24   information for a lawful Franchise Disclosure Document.
25          125. Playboy’s failure to make the required disclosures and provide TNR with
26   a Franchise Disclosure Document (“FDD”) left TNR unaware of many aspects of its
27   relationship with Playboy, including the role of Playboy as franchisor and TNR as
28   franchisee. Had Playboy fulfilled its legal obligations as a franchisor, TNR would

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 1   have received a Franchise Disclosure Document informing TNR of (i) Playboy’s
 2   ability to provide assistance, advertising, training, and other benefits to TNR; and (ii)
 3   Playboy’s ability and obligation to participate in the operation of TNR’s franchisee
 4   business, if any.
 5                               FIRST CLAIM FOR RELIEF
 6             Violation of Statute – Wrongful Termination of Franchise)
     (California Franchise Relations Act – Corporations Code sections 20000 et seq.
 7
                                        (Against Playboy)
 8
 9         126. TNR hereby incorporates each and every allegation set forth in the
10   preceding paragraphs as though set forth fully herein.
11         127. The license from Playboy is a franchise as defined by California
12   Corporations Code section 20001, known as the California Franchise Relations Act
13   (“FRA”). Cal. Corp. Code §§ 20000 et seq.
14         128. Under that license, Playboy granted TNR, by way of the Novation
15   Agreement, the right to engage in the business of selling Products bearing its mark,
16   including an exclusive right to design, manufacture, advertise, promote, sell,
17   distribute, and conduct research and development for the Products in the territory in
18   the manner and distribution channels specified by the PLA. Playboy also prescribed
19   in substantial part the means by which TNR would sell the Products by requiring an
20   advertising/promotional and marketing plan, paired with its own submission and
21   approval process, for all sales of Products.
22         129. Moreover, Playboy conditioned all sales of Products upon (i) TNR
23   satisfying Playboy’s strict standards of quality, suitability, advertising, marketing,
24   packaging, and other controls dictated by Playboy under the terms of the license, as
25   referenced above in paragraphs 24-27, and (ii) TNR receiving approval from Playboy
26   based on the standards and controls dictated by Playboy. In turn, TNR’s business of
27   selling Products is substantially and integrally associated with Playboy’s tradename,
28   marks, and logos.

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 1         130. TNR paid a total of $750,000 to Playboy, through UMD, as an initial fee
 2   under the Novation Agreement, and it also paid substantial guaranteed royalties of
 3   more than $2.3 million dollars annually, plus earned royalties as calculated under the
 4   terms of the PLA.
 5         131. Under the terms of the PLA, as extended by the Fifth Amendment, TNR’s
 6   license was due to expire, if not renewed, on December 31, 2027.
 7         132. On November 5, 2021, Playboy issued a defective notice of termination
 8   letter indicating TNR’s license was terminated immediately on the grounds of alleged
 9   incurable defaults under the PLA, citing the findings of its pretextual audit. None of
10   the alleged defaults were material.
11         133. Playboy terminated the license without providing 60 days’ notice of its
12   intent to terminate and an opportunity to cure any alleged defects in TNR’s
13   performance. This is a violation of FRA section 20020. Cal. Corp. Code § 20020.
14         134. Playboy’s notice of termination was defective because it did not provide
15   written notice to TNR by registered, certified, or receipted mail, telegram, or personal
16   delivery. This is a violation of FRA section 20030. Cal. Corp. Code § 20030.
17         135. At all relevant times, TNR operated in substantial compliance with the
18   terms of the PLA and substantially performed its obligations thereunder.
19         136. Playboy’s purported grounds for termination were arbitrary, wrongful,
20   and without good cause, in breach of the license. This is a violation of FRA section
21   20020. Cal. Corp. Code § 20020.
22         137. TNR is therefore entitled to the fair market value of the franchised
23   business and franchise assets, any other damages that result from Playboy’s wrongful
24   termination of the PLA, and injunctive relief.
25         138. As a direct and proximate result of Playboy’s violations, and pursuant to
26   FRA section 20035 (Cal. Corp. Code § 20035), TNR has suffered and continues to
27   suffer damages in an amount to be determined at time of trial, the amount of which is
28   in excess of $100 million including, but not limited to, the fair market value of the

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 1   franchised business and the franchised assets, expected profits under the license
 2   through 2027, the $15 million purchase price of the license (including $750,000 as
 3   initial consideration under the Novation Agreement), startup costs and investments of
 4   approximately $13 million, royalties, the reimbursements and returns of monies and
 5   inventory to and from third parties due to the sudden termination, any loss of stock
 6   market valuation due to TNR having to report the license termination to the SET
 7   (Stock Exchange of Thailand), and numerous operating losses, including but not
 8   limited to having to cancel third party contracts, and operating contracts for employees
 9   and vendors for storage and related logistics, approximately $17 million in unsold and
10   returned goods and claims from distributors and retailers due to Playboy’s retaliatory
11   refusal to allow a sell-off period, and all consequential damages suffered by TNR
12   related to Playboy’s illegal franchise.
13                              SECOND CLAIM FOR RELIEF
14                               Violation of Statute
          Franchise Investment Law – Corporations Code sections 31000 et seq.
15
                                         (Against Playboy)
16
17         139. TNR hereby incorporates each and every allegation set forth in the
18   preceding paragraphs as though set forth fully herein.
19         140. Playboy violated the FIL by failing to register (or claim an exemption)
20   and by failing to file its franchise offering circular (“FOC”) (now known as the FDD)
21   with the California Department of Corporations as required of all non-exempt sellers
22   of franchises in California. This omission is a violation of the FIL. TNR first
23   discovered the nature of its franchisor-franchisee relationship with Playboy on or
24   about November 2021 upon Playboy’s wrongful termination. In particular, TNR
25   learned that it had legal rights under the FIL based on (i) Playboy’s failure to prepare
26   and file the requisite paperwork under the FIL and (ii) Playboy’s failure to present
27   TNR with a FOC (now called the FDD).
28         141. Specifically, Playboy violated the FIL by failing to provide a copy of a

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 1   FOC (now called the FDD) to TNR at least ten (10) business days prior to TNR
 2   entering a franchise. This is a violation of Corporations Code section 31119.
 3         142. Upon information and belief, Playboy never employed a registered
 4   franchise salesperson when it instructed its employees or agents to participate in the
 5   ongoing sale of the franchise from Playboy to TNR during the execution of the
 6   Novation Agreement and any subsequent Amendments to the PLA during TNR’s time
 7   as licensee. This is a violation of section 31210 of the FIL. Cal. Corp. Code § 31210.
 8         143. Upon information and belief, and pursuant to section 31302 of the FIL,
 9   the officers of Playboy are jointly and severally liable for the violations set forth above
10   because they are officers, directors, and/or control persons of Playboy. Cal. Corp.
11   Code § 31302.
12         144. Upon information and belief, Playboy’s acts as described herein were
13   willful, so TNR is entitled to rescission as an alternative to remedy its damages claims.
14   The PLA is therefore an illegal franchise since it violates California civil law,
15   California administrative regulations, California public policy, and the Code of
16   Federal Regulations.
17         145. As a direct and proximate result of Playboy’s violations, and pursuant to
18   section 31300 of the FIL (Cal. Corp. Code § 31300), Plaintiff has suffered and
19   continues to suffer damages in an amount to be determined at time of trial, the amount
20   of which is in excess of $100 million including, but not limited to, the fair market
21   value of the franchised business and the franchised assets, expected profits under the
22   license through 2027, including, but not limited to, the $15 million purchase price of
23   the license      (including $750,000 as initial consideration under the Novation
24   Agreement), startup costs and investments of approximately $13 million, royalties, the
25   reimbursements and returns of monies and inventory to and from third parties due to
26   the sudden termination, any loss of stock market valuation due to TNR having to report
27   the license termination to the SET (Stock Exchange of Thailand), and numerous
28   operating losses, including but not limited to having to cancel third party contracts,

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 1   and operating contracts for employees and vendors for storage and related logistics,
 2   approximately $17 million in unsold and returned inventory due to Playboy’s
 3   retaliatory refusal to allow a sell-off period, and all consequential damages suffered
 4   by TNR related to Playboy’s illegal franchise.
 5                               THIRD CLAIM FOR RELIEF
 6                                     Breach of Contract
 7                                     (Against Playboy)

 8         146. TNR hereby incorporates each and every allegation set forth in the
 9   preceding paragraphs as though set forth fully herein.
10         147. TNR operates a business of design, manufacture, advertising, promotion,
11   selling, distributing, and conducting research and development of Products pursuant
12   to the terms of the PLA, under which it became a licensee pursuant to the SPA and the
13   Novation Agreement (the PLA and Novation Agreement collectively, the
14   “Agreements”).
15         148. Playboy has breached the Agreements with TNR by unfairly and
16   intentionally taking actions contrary to the terms of those Agreements and to the
17   longstanding course of performance between Playboy and TNR—as well as between
18   Playboy and UMD as TNR’s predecessor in interest— including, but not limited to:
19                a.     Unreasonably and without justification withholding product
20   approvals in violation of the Agreements that prevented TNR from engaging in sales
21   of Playboy Products under the Agreements, including preventing TNR from engaging
22   in holiday promotions to maximize sales during peak sales periods;, in violation of
23   Section 2.i of the PLA.
24                b.     Failing to provide the agreed upon “services” enumerated in
25   Paragraph 1 of the Seventh Amendment to the PLA including, among other things,
26   timely product and marketing plan approvals and other assistance as necessary to
27   effectuate TNR’s assumption of obligations under the PLA;
28
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 1                 c.     Failing to cooperate with TNR as licensee in good faith as required
 2   under Section 11.1 of the Novation Agreement; and
 3                 d.     Engaging in the wrongful termination of the PLA on the basis of
 4   pretextual audit findings that contravene the course of performance between the parties
 5   in violation of Section 11.1 of the Novation Agreement.
 6         149. TNR has performed or substantially performed its obligations under the
 7   PLA and the Novation Agreement and has paid Playboy significant royalties to date.
 8         150. Playboy’s breaches of the PLA and the Novation Agreement are material,
 9   done in bad faith, and have resulted in Playboy unfairly and unjustly profiting from its
10   breaches.
11         151. As a direct and proximate cause of Playboy’s breach of the PLA and the
12   Novation Agreement, TNR has suffered general, special, and consequential damages,
13   including future damages, in an amount to be determined at trial, but exceeding
14   $75,000.
15                              FOURTH CLAIM FOR RELIEF
16           Breach of the Implied Covenant of Good Faith and Fair Dealing
17                                        (Against Playboy)
18         152. TNR hereby incorporates each and every allegation set forth in the
19   preceding paragraphs as though set forth fully herein.
20         153. TNR operates a business of selling Products pursuant to the terms of the
21   PLA, under which it became a licensee pursuant to the SPA and the Novation
22   Agreement.
23         154. The PLA and Novation Agreement, as well as the longstanding course of
24   performance between the parties, impose a duty of good faith and fair dealing on the
25   part of Playboy.
26         155. Playboy has breached its duty of good faith and fair dealing by
27   intentionally taking actions to frustrate and misappropriate the benefits to which TNR
28   is entitled under the PLA and Novation Agreement, including, but not limited to:
                                                  37
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 1                a.     Withholding product approvals unreasonably and without
 2   justification to harm TNR’s performance under the PLA and prevent TNR from
 3   obtaining the full benefit of its bargain, in violation of Section 2.i of the PLA and
 4   Paragraph 1 of the Seventh Amendment to the PLA;
 5                b.     Failing to provide the good-faith cooperation required under
 6   Section 11.1 of the Novation Agreement;
 7                c.     Directing, aiding, and abetting Allen to obtain TNR’s approval of
 8   the Eighth Amendment by concealing material facts about the nature of the agreement
 9   in violation of Section 11.1 of the Novation Agreement;
10                d.     Competing directly with TNR by selling Playboy products not
11   manufactured by TNR on TNR’s retail shelf space and using packaging copied from
12   TNR’s Products in violation of Section 11.1 of the Novation Agreement;
13                e.     Undermining and sabotaging TNR’s efforts to perform and meet
14   its obligations as a licensee in violation of Paragraph 1 of the Seventh Amendment and
15   Section 11.1 of the Novation Agreement;
16                f.     Directing, aiding, and abetting Allen to bill or charge TNR for
17   improper and unauthorized expenses to support sales of Playboy products, including,
18   but not limited to, shipping, logistics, insurance, advertising, and other costs and fees,
19   injuring TNR’s ability to make profits under the PLA, in violation of Section 11.1 of
20   the Novation Agreement;
21                g.     Abusing its discretionary powers under the PLA in bad faith to
22   conduct an audit for the purpose of raising alleged defects in TNR’s performance to
23   justify immediate termination of the PLA and seizure of TNR’s exclusive license, in
24   violation of Section 11.1 of the Novation Agreement; and
25                h.     Refusing to entertain TNR’s good faith efforts to cure the alleged
26   defects in TNR’s performance identified in the audit or in any way to resolve the
27   impasse between the parties over the PLA and refusing to allow TNR to engage in a
28
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 1   sell-off period after termination of the PLA, in violation of Section 11.1 of the
 2   Novation Agreement.
 3         156. As a direct and proximate cause of Playboy’s breach of the implied
 4   covenant of good faith and fair dealing, TNR has suffered general, special, and
 5   consequential damages, including future damages, in an amount to be determined at
 6   trial, but exceeding $75,000.
 7                                 FIFTH CLAIM FOR RELIEF
 8                       Violation of California’s Unfair Competition Law
                               Cal. Bus. & Prof. Code § 17200 et seq.
 9
                                       (Against All Defendants)
10
11         157. TNR hereby incorporates each and every allegation set forth in the
12   preceding paragraphs as though set forth fully herein.
13         158. The California Unfair Competition Law (“UCL”) prohibits any
14   “unlawful, unfair, or fraudulent business act or practice[.]” Cal. Bus. & Prof. Code
15   § 17200.
16         159. Playboy and Allen are “persons” as defined by the UCL. Cal. Bus. &
17   Prof. Code § 17201.
18         160. Defendants violated the UCL by engaging in unfair, unlawful, and/or
19   deceptive business practices, specifically by engaging in behavior including, but not
20   limited to:
21                  a.     Misrepresentation of Playboy’s products as TNR Products to usurp
22   TNR’s goodwill and take advantage of TNR’s relationships with one or more major
23   retailers and buyers of TNR’s Products;
24                  b.     Deceptively infiltrating TNR’s earned and designated shelf space
25   at one or more major retailers to the exclusion of TNR’s Products for the benefit of
26   Playboy’s wipes product;
27                  c.     Deceptively, and without authorization, obtaining purported
28   coverage through a liability insurance policy fully funded by TNR and intended solely

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 1   to cover TNR’s Products;
 2                d.     Deceptively obtaining payment from TNR for expenses, including
 3   but not limited to, shipping, logistics costs, social media advertising, and marketing
 4   data to be used for non-TNR Playboy products;
 5                e.     Billing or charging TNR for improper and illegitimate expenses,
 6   including but not limited to payments of rent for commercial space used exclusively
 7   by and for the benefit of Playboy;
 8                f.     Obtaining TNR’s approval of the Eighth Amendment by
 9   concealing material facts about the nature of the agreement, which was significantly
10   harmful to TNR; and
11                g.     Unlawfully and wrongfully terminating the PLA in violation of
12   California franchise law.
13         161. Through these practices, Defendants deprived and continue to deprive
14   TNR of certain protections to which it is entitled under California law and
15   misappropriating revenue lawfully due to TNR.
16         162. Playboy’s actions are unlawful or, at a minimum, violate the public policy
17   set forth in the FIL because Playboy was required to register as a franchisor and file
18   and update disclosures prior to creation of the franchise concerning: the nature of its
19   business; the assistance, advertising, and training Playboy was required to provide
20   TNR as a franchisee; and Playboy’s obligation to participate in the operation of TNR’s
21   business, if any.
22         163. Playboy’s failure to register or make the required disclosures under the
23   FIL deprives TNR of certain information concerning Playboy’s business, such as its
24   operational standards and the assistance Playboy is expected to provide to TNR. This
25   created a significant likelihood that Playboy’s promises under the terms of the PLA
26   and Novation Agreement would not be fulfilled—as, indeed, is now the case.
27         164. Playboy abused its position by performing a predatory audit of TNR’s
28   operations based on undisclosed standards and, despite the same performance by

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 1   TNR’s predecessor, proceeded to (i) ignore TNR’s numerous subsequent requests for
 2   information and clarity concerning the alleged defects in its performance; (ii) ignore
 3   TNR’s numerous subsequent attempts to remedy some of those alleged defects, and
 4   (iii) use the audit as a basis to claim there was a material breach of the PLA as a pretext
 5   to immediately terminate the Agreements.
 6         165. In addition, Playboy’s acts of undermining TNR’s license under the PLA
 7   by selling Playboy’s products through one or more major retailers using TNR’s shelf
 8   space and resources for which TNR invested and expended funds to sell its goods to
 9   the exclusion of TNR’s Products threaten and harm competition.
10         166. As a direct and proximate cause of Playboy’s unlawful, unfair, and/or
11   fraudulent business practices, TNR has suffered damages entitling it to restitutionary
12   disgorgement of all monies Playboy obtained due to its unlawful business practices in
13   an amount to be determined at trial, but exceeding $75,000.
14                               SIXTH CLAIM FOR RELIEF
15                   Intentional Interference with Contractual Relations
16                                       (Against Playboy)
17         167. TNR hereby incorporates each and every allegation set forth in the
18   preceding paragraphs as though set forth fully herein.
19         168. TNR has contractual relationships with its distributors, suppliers, and
20   customers—including but not limited to Walmart, Walgreens, Monarch, Freedom, and
21   Allen—within the Territory set forth in the PLA, where it has operated its condom and
22   lubricant business since 1993.
23         169. Each of these contractual relationships have resulted and would continue
24   to result in an economic benefit to TNR.
25         170. These contractual relationships were known to Playboy, both
26   independently and through its relationship and dealings with Allen.
27         171. TNR’s contractual relationship with Walmart was at-will. Playboy was
28   neither a party nor an agent of a party to TNR’s contract with Walmart. Playboy
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 1   engaged in conduct independent of the actual interference by intentionally
 2   misrepresenting its products as belonging to TNR in a presentation to Walmart to
 3   disrupt TNR’s Walmart agreement and improperly securing shelf space and sales
 4   rights at Walmart for Playboy’s products. To effectuate those sales, Playboy also
 5   deceptively used packaging on its products almost identical to those on TNR’s
 6   Products. These acts disrupted the contractual relationship between TNR and Walmart
 7   by depressing TNR’s sales at Walmart, harming TNR’s certified supplier status, brand,
 8   trust, and reputation with Walmart, making TNR’s performance under its agreement
 9   with Walmart more difficult, and decreasing TNR’s enjoyment of the benefits it
10   derived from the Walmart agreement. As a proximate result of Playboy’s wrongful
11   acts to intentionally disrupt the Walmart agreement, TNR experienced decreased
12   profits from sales at Walmart as it was unable to sell as many packages of its Products
13   as it could have absent Playboy’s interference.
14         172. TNR’s contractual relationship with Walgreens was of a definite term.
15   Playboy was neither a party nor an agent of a party to TNR’s contract with Walgreens.
16   Playboy wrongfully induced Allen to include Playboy’s wipes and CBD products in a
17   sales pitch to Walgreens without TNR’s knowledge or consent to disrupt TNR’s
18   contractual relationship with Walgreens. Subsequently, Playboy further disrupted the
19   contractual relationship between Walgreens and TNR by wrongfully and unreasonably
20   terminating the PLA, harming TNR’s status, brand, trust, and reputation with
21   Walgreens, making TNR’s performance under its agreement with Walgreens more
22   difficult and decreasing TNR’s enjoyment of the benefits it derived from the
23   Walgreens agreement. As a proximate result of Playboy’s wrongful acts to
24   intentionally disrupt the Walgreens agreement, TNR was unable to pitch and sell its
25   own Products to Walgreens in its TNR-exclusive sales presentation and lost profits
26   from sales at Walgreens.
27         173. TNR’s contractual relationships with Monarch, Freedom, and Allen were
28   of a definite term. Playboy was neither a party nor an agent of a party to these contracts.

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 1   Playboy wrongfully obtained benefits at the expense of TNR for expenses dedicated
 2   solely to Playboy’s operations—including but not limited to, shipping, logistics costs,
 3   social media advertising, marketing data, and payment of rent for commercial space
 4   used exclusively by and for the benefit of Playboy—by inducing Allen to submit
 5   illegitimate reimbursement requests. Playboy engaged in this misconduct to induce
 6   breach of TNR’s agreements with Monarch, Freedom, and Allen. As Playboy was
 7   aware, Freedom was an entity engaged by TNR for its distribution in the US yet it was
 8   used by Playboy to sell Playboy wipes at Walmart as well as receive and send funds
 9   from the sales. Playboy’s wrongful conduct undermined TNR and committed TNR’s
10   resources to benefit Playboy’s products, thereby disrupting TNR’s contractual
11   relationships with Monarch, Freedom, and Allen and ultimately resulting in actual
12   breach. As a proximate result of Playboy’s wrongful acts to intentionally induce
13   disruption and breach of TNR’s agreements with Monarch, Freedom, and Allen, TNR
14   paid monies it otherwise would not have in connection with resources unlawfully
15   diverted to Playboy’s products, thereby increasing the cost and burden of TNR’s
16   performance under its contracts with Monarch, Freedom, and Allen.
17          174. Playboy is a stranger to the contractual relationship between TNR and the
18   aforementioned entities with whom TNR enjoys such contractual relations.
19          175. Playboy knew that its acts would interfere in those relationships or it
20   should have known that interference was substantially certain to occur as a result of
21   its actions.
22          176. TNR was harmed in an amount to be determined at trial, but exceeding
23   $75,000.
24          177. TNR is informed and believes that Playboy’s conduct was intentional,
25   malicious, oppressive, and/or designed to damage and harm TNR’s operations and
26   reputation, as well as demonstrating a reckless disregard of TNR’s rights. TNR is
27   entitled to compensatory, consequential, exemplary and punitive damages as a result.
28
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 1                             SEVENTH CLAIM FOR RELIEF
 2              Intentional Interference with Prospective Economic Relations
 3                                      (Against Playboy)
 4         178. TNR hereby incorporates each and every allegation set forth in the
 5   preceding paragraphs as though set forth fully herein.
 6         179. TNR hereby further incorporates each and every allegation set forth in
 7   the subsequent paragraphs as though set forth fully herein.
 8         180. Over the course of TNR’s term as licensee, TNR has pursued economic
 9   relationships with additional distributors, suppliers, and customers within the Territory
10   set forth in the PLA, all of which were designed to provide TNR with an economic
11   benefit.
12         181. Playboy disrupted TNR’s prospective economic relationship with CVS,
13   which would have benefitted TNR economically by allowing it to expand sales of its
14   Products to CVS stores, by (i) stealing TNR’s professional and financial resources to
15   have Allen present Playboy’s products to CVS, using materials created by a
16   presentation vendor paid for by TNR, in a TNR-exclusive presentation; (ii) violating
17   the UCL by wrongfully inducing Allen to present Playboy’s products in the
18   aforementioned presentation; and (iii) misrepresenting itself to CVS in or around
19   September 2020 as being an authorized beneficiary of TNR’s retailer relationship
20   during the aforementioned presentation. Playboy knew that interference with TNR’s
21   prospective economic relationship with CVS was certain or substantially certain to
22   occur as a result of its conversion, wrongful inducement, and intentional
23   misrepresentation to CVS.
24         182. Playboy violated the UCL and disrupted TNR’s prospective economic
25   relationship with Core-Mark, which would have benefitted TNR economically by
26   allowing it to expand sales of its Products to Core-Mark’s convenience stores and gas
27   stations., by wrongfully inducing Allen to put a hold on TNR’s negotiations with Core-
28   Mark to force the negotiations to fail and undermine TNR’s operations. Playboy knew
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 1   that interference with TNR’s prospective economic relationship with Core-Mark was
 2   certain or substantially certain to occur as a result of its wrongful inducement.
 3         183. Playboy violated the UCL and disrupted TNR’s prospective economic
 4   relationship with the Russian distributor, which would have benefited TNR
 5   economically by keeping a deposit of $400,000 and expanding sales of its Products to
 6   Russia, by wrongfully and unreasonably withholding approval of TNR’s deal with the
 7   Russian distributor—for which TNR received a deposit of $400,000—for 4-6 months
 8   to force the negotiations to fail and undermine TNR’s operations. Playboy knew that
 9   interference with TNR’s prospective economic relationship with the Russian
10   distributor was certain or substantially certain to occur as a result of its wrongful and
11   unreasonable withholding of approval.
12         184. The existence of these prospective economic relationships with CVS,
13   Core-Mark, and the Russian distributor was known to Playboy, and Playboy took
14   actions that were intentionally wrongful and exceeded the bounds of fair competition
15   to disrupt and/or divert those relationships.
16         185. Playboy’s intentional interference with TNR’s prospective economic
17   relationships with CVS, Core-Mark, and the Russian distributor prevented those
18   relationships from materializing into economic benefit to TNR and therefore worked
19   to the detriment of TNR’s expectations of an economic benefit from those
20   relationships.
21         186. Playboy’s actions disrupted TNR’s prospective economic relationships
22   with CVS, Core-Mark, and the Russian distributor through conversion,
23   misrepresentation, and violation of the UCL.
24         187. TNR had a reasonable probability of future business opportunities and
25   economic benefit in connection with its prospective economic relationships with CVS,
26   Core-Mark, and the Russian distributor.
27         188. As a proximate result of Playboy’s wrongful acts, TNR was harmed in an
28   amount to be determined at trial, but exceeding $75,000.

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 1                              EIGHTH CLAIM FOR RELIEF
 2             Negligent Interference with Prospective Economic Relations
 3                                      (Against Playboy)
 4         189. TNR hereby incorporates each and every allegation set forth in the
 5   preceding paragraphs as though set forth fully herein.
 6         190. TNR had a reasonable probability of future business opportunities and
 7   economic benefit in connection with, but not limited to, its prospective economic
 8   relationships with CVS, Core-Mark, and the Russian distributor.
 9         191. Playboy owed a duty of care to perform its obligations under the Seventh
10   Amendment of the PLA and the Novation Agreement in a way that did not cause
11   foreseeable harm to TNR’s business.
12         192. Playboy had knowledge of TNR’s prospective economic relationship
13   with CVS, Core-Mark, and the Russian distributor and Playboy knew or should have
14   known that if it did not act with due care, Playboy’s actions would interfere with
15   TNR’s opportunities with CVS, Core-Mark, and the Russian distributor, causing TNR
16   to lose the economic benefit of such relationships.
17         193. Playboy failed to uphold its duty of care, thus disrupting and/or diverting
18   TNR’s prospective economic relationships and exceeding the bounds of fair
19   competition.
20         194. But for Playboy’s negligent performance of its obligations by way of
21   inducing Allen to present Playboy’s products in a TNR-exclusive presentation to CVS,
22   TNR would have economically benefited from the CVS relationship.
23         195. But for Playboy’s negligent performance of its obligations by way of
24   inducing Allen to insert Playboy in the Core-Mark relationship and to put TNR’s
25   negotiations with Core-Mark on hold, TNR would have economically benefited from
26   the Core-Mark relationship.
27         196. But for Playboy’s negligent performance of its obligations by way of
28   withholding timely approval of the deal for sales in Russia, TNR would have
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 1   economically benefitted from the Russian distributor relationship.
 2         197. Playboy failed to perform its obligations under the Seventh Amendment
 3   of the PLA and the Novation Agreement in a way that caused unforeseeable harm to
 4   TNR’s business, thereby disrupting TNR’s relationships and business opportunities
 5   with CVS, Core-Mark, the Russian distributor and perhaps other entities presently
 6   unknown.
 7         198. As a proximate result of Playboy’s negligence, TNR was injured by
 8   Playboy in an amount to be determined at trial, but exceeding $75,000.
 9                               NINTH CLAIM FOR RELIEF
10                           Fraudulent Inducement to Contract
11                                       (Against Playboy)
12         199. TNR hereby incorporates each and every allegation set forth in the
13   preceding paragraphs as though set forth fully herein. In particular, TNR specifically
14   reiterates and incorporates by reference herein paragraphs numbered 43-53 which
15   detail the fraudulent inducement.
16         200. As a material inducement to enter into the Eighth Amendment, Playboy
17   intentionally concealed or suppressed the material fact that CBD condoms and
18   lubricants were included in the scope of the PLA in its communications with Allen on
19   July 8, 2019 at 7:56 PM and 8:26 PM, which was underscored by the lack of any
20   consideration tendered by Playboy for the Eighth Amendment (first concealment or
21   suppression). In the same e-mails, Playboy also intentionally concealed or suppressed
22   the material fact that Playboy needed the Eighth Amendment to lawfully implement
23   its CBD sexual wellness product line without violating the terms of the PLA (second
24   concealment or suppression). Playboy had a duty to disclose the aforementioned
25   material facts regarding the Eighth Amendment (i) as an incident of the contractual
26   relationship between Playboy and TNR due to Playboy’s representations under the
27   Novation Agreement and Seventh Amendment to the PLA that it would be a
28   supportive licensor to TNR; (ii) because Patel made false representations about the
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 1   PLA’s scope but did not disclose facts that materially qualified the facts disclosed or
 2   that the representations rendered her disclosure likely to mislead TNR; and/or (iii)
 3   because Patel actively concealed discovery of the material facts from TNR by not
 4   disclosing such facts during Playboy’s discussions with Allen, whom Playboy knew
 5   TNR relied upon for its US operations (duty to disclose). Playboy intended to defraud
 6   TNR by intentionally concealing or suppressing the material facts that CBD condoms
 7   and lubricants were in fact included in the scope of TNR’s licensing rights, and that
 8   Playboy needed TNR to sign the Eighth Amendment to lawfully implement its CBD
 9   growth plan (intent to defraud). At the time of Playboy’s concealment or suppression,
10   TNR was ignorant of the material facts concealed or suppressed by Playboy (lack of
11   knowledge). If TNR had been aware of the existence of the material facts concealed
12   or suppressed by Playboy, Khun Amorn would not have signed the Eighth Amendment
13   on behalf of TNR because (i) lubricants of all kinds were central to TNR’s business,
14   as evidenced by condom and lubricant pairings; and (ii) TNR sought to develop CBD,
15   THC, and other cannabinoid products; instead, because of Playboy’s concealment or
16   suppression of the aforementioned facts, TNR was induced into signing the Eighth
17   Amendment and unknowingly transferred its licensing rights to CBD condoms and
18   lubricants back to Playboy (causation/injury).
19         201. As a material inducement to enter into the Eighth Amendment, Playboy
20   also intentionally made a false representation that CBD condoms and lubricants were
21   excluded from the scope of the PLA. On July 8, 2019 at 8:26 PM, Patel made a
22   representation that it was a “[r]eality” that CBD condoms and lubricants were excluded
23   from the scope of the PLA (representation by Playboy). Playboy’s representation was
24   false, as evidenced by the express language of the PLA (falsity). Playboy knew that
25   the representation was false when it made the representation to Allen, TNR’s global
26   sales consultant at the time (knowledge of falsity). Playboy intended that TNR rely on
27   the false representation to induce TNR into signing the Eighth Amendment, which
28   Playboy needed to lawfully implement its CBD sexual wellness product line—CBD

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 1   by Playboy—without violating the terms of the PLA (intent to induce reliance). TNR
 2   reasonably relied on Playboy’s false and fraudulent representation, which was
 3   communicated to Khun Amorn by Allen, due to (i) TNR’s lack of experience and
 4   expertise in the American market; (ii) Allen’s specific role as TNR’s primary resource
 5   for guidance on US operations given TNR’s lack of experience and expertise in the
 6   American market; (iii) Playboy’s affirmative misrepresentation that it was a “reality”
 7   that CBD products were not included in the scope of the PLA; and (iv) Playboy’s
 8   knowledge of the fact that the misrepresentation conveyed to Allen would be
 9   communicated to TNR given Allen’s role as TNR’s American market advisor. Due to
10   the   foregoing   reasons,    Khun     Amorn     relied   upon     Playboy’s    intentional
11   misrepresentation of material facts and strategically crafted sense of urgency and was
12   induced into signing the Eighth Amendment without the benefit of an attorney and
13   with no consideration from Playboy. (justifiable reliance).           TNR’s reliance on
14   Playboy’s false and fraudulent representation was a substantial factor in causing harm
15   to TNR because TNR would not have signed the Eighth Amendment, resulting in loss
16   of licensing rights to CBD condoms and lubricants, had it not reasonably relied on
17   Playboy’s false representation (causation/injury).
18         202. Playboy’s use of intentional fraudulent conduct was a deliberate tactic to
19   induce TNR to sign the Eighth Amendment. As a direct and proximate result of
20   Playboy’s fraudulent concealment or suppression and false and fraudulent
21   representation, TNR has suffered damages. The amount of these damages has not
22   been precisely determined and the damages are continuing to accrue. TNR is also
23   entitled to rescission as an alternative to remedy its damages claims.
24         203. Playboy’s acts alleged above included deceit and/or fraudulent
25   concealment or suppression of material facts as well as false or fraudulent
26   representation of a material fact known to Playboy with the intent of inducing TNR
27   into signing the Eighth Amendment, depriving TNR of its property or legal rights or
28   otherwise causing injury, and were despicable, malicious, oppressive, and/or

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 1   fraudulent conduct that subjected TNR to a cruel and unjust hardship in a conscious
 2   disregard of TNR’s rights, so as to justify an award of exemplary and punitive damages
 3   in an amount to be proven at trial, but exceeding $75,000.
 4                              TENTH CLAIM FOR RELIEF
 5                                     Conversion
 6                                  (Against Playboy)

 7         204. TNR hereby incorporates each and every allegation set forth in the
 8   preceding paragraphs as though set forth fully herein.
 9         205. Playboy has completely failed and/or refused to account for the use of
10   TNR’s funds for Playboy’s expenses and has completely failed to pay for or return any
11   of TNR’s funds, but has nevertheless benefited from TNR’s retailer account and funds,
12   paving the way for the sales of Playboy’s sexual wellness products.
13         206. Instead, to satisfy its own operational costs relating to Playboy’s sexual
14   wellness products, Playboy wrongfully, unlawfully, and intentionally converted
15   TNR’s funds for Playboy’s personal use in their entirety.
16         207. Playboy usurped TNR’s resources for costs relating to Playboy’s
17   independent sexual wellness operations, including but not limited to:
18                a.     All funds paid by TNR for costs relating to Playboy wipes such as
19   payments for iheart wipes advertising, BLKLYST Wipes and CBD advertising,
20   product liability insurance for Playboy wipes at CVS, sales commissions for Playboy
21   wipes, bonuses on sales growth for Playboy wipes, EDI fees and monthly management
22   fee for Playboy wipes, QuickBooks monthly fee, accounting expenses, and other
23   significant shipping, storage, advertising, marketing, costs and fees benefiting
24   Playboy, the sum total of which can be ascertained and confirmed by third-party
25   invoices detailing expenses incurred and paid by TNR from November 2019 to August
26   31, 2021 but exceeding $497.860.75.
27                b.     TNR’s payment of $210,000 to Allen from November 2019 to
28   December 2020 arising from Playboy’s poaching of Allen to be a double agent and

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 1   undermine TNR’s operations;
 2                c.     $51,520 in office rental and parking costs from approximately
 3   November 2019 to December 2020 for Playboy’s operations; and
 4                d.     $6,953.95 for construction and remodeling costs for Playboy’s
 5   offices.
 6          208. TNR is the rightful owner of and has an immediate right to possession of
 7   the funds converted by Playboy.
 8          209. TNR in no manner consented to Playboy’s misappropriation of its funds.
 9          210. TNR has performed all of the conditions, covenants, and promises
10   required on its part to be performed in accordance with the terms and conditions of the
11   PLA.
12          211. TNR is entitled to restitution from Playboy’s unjust enrichment because
13   Playboy knew or had reason to know that the payments Freedom sent to Playboy
14   actually belonged to TNR.
15          212. TNR is entitled to restitution from Playboy’s unjust enrichment because
16   Playboy knew or had reason to know it was being saved from expense or loss by
17   having TNR’s resources pay for Playboy’s operational costs.
18          213. As a direct and proximate result of Playboy’s conversion of TNR’s
19   monies, TNR has been damaged in a specific sum capable of identification through
20   discovery as there are thousands of invoices TNR must analyze and additional
21   requisite information is known only to Playboy and/or Allen, but exceeding
22   $492,864.32.
23                            ELEVENTH CLAIM FOR RELIEF
24                                  Breach of Fiduciary Duty
25                                        (Against Allen)
26          214. TNR engaged Allen as global sales consultant for the Products, and
27   authorized him to conduct business on TNR’s behalf. Allen assumed an integral role
28   in TNR’s operations and assisted in managing TNR’s Products in the US under the

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 1   PLA.
 2          215. TNR entrusted Allen with these responsibilities based on Allen’s
 3   previous position at UMD and experience with the Playboy condoms and lubricant
 4   business, which placed him in a singular and essential position to guide TNR’s
 5   transition efforts and left TNR heavily dependent upon Allen.
 6          216. Allen served as consultant to TNR in connection with its Products in the
 7   United States, and TNR entrusted Allen to represent its interests in conducting
 8   business on its behalf in the consultant capacity. As a result, Allen owed TNR certain
 9   fiduciary duties including the duty of undivided loyalty.
10          217. Allen breached his fiduciary duties by conducting business directly with
11   Playboy to his benefit, and TNR’s detriment. For example, Allen acted covertly to
12   develop a wipes product sometime in 2019 with the goal of using TNR’s relationships
13   and credentials with retailers in addition to its shipping, storage, logistics, insurance,
14   and other resources to sell the product under the Playboy brand for his own benefit
15   rather than TNR’s.
16          218. After Allen learned that Playboy wished to take away exclusive rights
17   from TNR to sell in the USA and Canada, Allen entered into a deal with Playboy
18   whereby Allen would have the ability to sell his wipes product under the Playboy
19   brand, and Playboy would have a means to charge into the sexual wellness space using
20   TNR’s retail and distributor relationships.
21          219. In or about November 2019 Playboy offered Allen an independent
22   consulting role, which TNR later learned that he accepted in exchange for $100,000
23   plus sales commissions. Playboy offered this position to Allen without informing
24   TNR, and while Allen continued to serve as global sales consultant for TNR through
25   Monarch and remained a director of Freedom, TNR’s US distributor.
26          220. Without the assistance of Allen, Playboy and Allen would not have been
27   able to implement their improper scheme to use TNR’s retail and distributor
28   relationships, shelf space, insurance, shipping, and other resources to distribute the

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 1   Playboy wipes.
 2         221. As a result of Allen’s actions, Playboy and Allen were able to distribute
 3   the Playboy wipes using TNR’s business relationships, shelf space, insurance,
 4   shipping, and other resources, at the expense of TNR. TNR has accordingly been
 5   damaged in a specific sum capable of identification through discovery, as there are
 6   invoices and other information currently known only to Playboy and/or Allen.
 7
 8                                   PRAYER FOR RELIEF
 9         WHEREFORE, TNR prays for judgment against Playboy as follows:
10         1.     For damages and restitution in an amount in excess of $100,000,000,
11   including but not limited to expected profits under the license through 2027, the $15
12   million purchase price of the license (including $750,000 as initial consideration under
13   the Novation Agreement), startup costs and initial investments of approximately $13
14   million, royalties, the reimbursements and returns of monies and inventory to and from
15   third parties due to the sudden termination, revenue loss from unreasonably withheld
16   product approvals, interference with contractual and prospective economic
17   relationships, loss of stock market valuation, business interruption and reputational
18   business damage due to the wrongful termination, unsold and returned inventory of
19   approximately $17 million due to Playboy’s retaliatory refusal to allow a sell-off
20   period under to the wrongful termination, undue payments to Playboy from TNR’s
21   funds for Playboy related expenses, restitutionary disgorgement of all monies obtained
22   due to Playboy’s unlawful business practices, and numerous operating losses,
23   including but not limited to having to cancel third party contracts, and operating
24   contracts for employees and vendors for storage and related logistics;
25         2.     Fair market value of the franchised business and franchise assets, any
26   other damages that result from Playboy’s wrongful termination of the PLA, and
27   injunctive relief;
28         3.     For an award of general, special, consequential and other damages;

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 1         4.    For exemplary and punitive damages as allowable by law;
 2         5.    For other compensatory damages;
 3         6.    For equitable relief, including unjust enrichment and/or rescission;
 4         7.    For reasonable attorneys’ fees;
 5         8.    For costs of suit and expert fees incurred; and
 6         9.    For such other relief as the Court may deem proper.
 7
 8                              DEMAND FOR JURY TRIAL
 9         TNR hereby demands a trial by jury of all issues so triable pursuant to Rule 38
10   of the Federal Rules of Civil Procedure and Local Rule 38-1.
11
12   Dated: March 16, 2022                      DUANE MORRIS LLP
13
                                             By: /s/ Cyndie M. Chang
14                                              Cyndie M. Chang
15                                              Attorneys for Plaintiff
                                                Thai Nippon Rubber Industry Public
16                                              Limited Company
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